                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

                                                      )
     JANE DOE, the student; by and through her        )
     parents, K.M. and A.M.;                          )
                                                      )
           Plaintiff, 1                               )
                                                      )
     v.                                               )        No.: 3:22-cv-63-KAC-DCP
                                                      )
     KNOX COUNTY BOARD OF                             )
     EDUCATION;                                       )
                                                      )
           Defendant.                                 )

                           ORDER FOR SUPPLEMENTAL BRIEFING

          On March 3, 2022, the Court held a hearing on Plaintiff’s “Motion for Temporary

 Restraining Order and Preliminary Injunction” [Doc. 2]. At the hearing, the Parties expressed a

 desire and willingness to provide supplemental briefing on specific issues that they were not in a

 position to fully address at the hearing [See Doc. 21]. The Court concludes that expeditious

 supplemental briefing on specific issues may assist the Court in assessing Plaintiff’s motion.

          Accordingly, the Parties are each PERMITTED to submit one supplemental brief, limited

 to ten (10) pages in length. Each Party’s brief may address only: (1) Plaintiff’s assertion that,

 as a matter of law, Jane Doe is not eligible for “free appropriate public education” under the

 Individuals with Disabilities Education Act (IDEA), such that her Amended Complaint may not

 “‘seek relief that is also available under’ the IDEA” 2; and (2) the specific relief that the Court

 should order, given the current state of this litigation, if it concludes that Doe is required to exhaust



 1
   Plaintiff has confirmed that, as a matter of law, there is only one “plaintiff” in this case.
 Accordingly, the Court has amended the caption of the case.
 2
   Fry v. Napoleon Cmty. Schs., --- U.S. ---, 137 S. Ct. 743, 748 (2017).
                                                  1


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 the IDEA’s administrative procedures. 3 This supplemental brief SHALL NOT be used to reargue

 the points and authorities included in the Parties’ prior briefs. The Parties SHALL submit any

 supplemental brief on or before March 11, 2022. Absent a specific request from the Court, no

 response to any supplemental brief will be permitted.

        IT IS SO ORDERED.



                                                         KATHERINE A. C    CR
                                                                           CRYTZER
                                                                              RYYTTZER
                                                         United States District
                                                                       Distri c Judge
                                                                           riict Jud
                                                                                  u ge




 3
   See, e.g., L.G. v. Bd. of Educ. of Fayette Cnty., 775 Fed. Appx. 227, 231 n.3 (6th Cir. 2019)
 (unpublished).
                                                 2


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